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                               Exhibit A
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S TATE OF TEXAS                                §
COUNTY OF DALLAS                               §


       BEFORE ME, the undersigned authority, personally appeared Joseph Velador and after

being duly sworn, stated upon oath that the foregoing facts are true and correct to the best of her

knowledge and belief.

               "My name is Joseph Velador. I am over the age of 18, am of sound mind, and am

       capable of making this affidavit. I am the Founder of Hemp Industry Leaders of Texas

       (hereinafter referred to as H.LL.T.), a grassroots organization created by and for Texas

       hemp business owners. H.I.L.T. is a collective of hemp industry professionals, including

       farmers, manufacturers, distributors, and retailers, all of whom operate under the strict

       compliance of Texas and federal hemp laws as established by the 2018 Farm Bill.

               I submit this affidavit in support of H.I.L. T. 's intent to join the lawsuit against the

       City of Allen, Texas and the City of Allen Police Department in relation to the unlawful

       raid, seizure of products, and arrest of Sabhie Khan, a member of H.I.L.T. and an

       independent hemp retailer. These actions have caused significant harm to both Mr. Khan

       individually, and to H.I.L.T. as a whole.

       City of Allen Involvement:

               On June 28, 2024, H.I.L.T. members with retail locations in Allen, Tx received a

       letter from the City of Allen Director of Community Development regarding a proposed

       amendment to the Allen Land Development Code, adding a definition for "CBD Shop" to

       the code and providing regulations for separation, development, and operational

       standards for the newly defined CBD Shops (Exhibit I). A public hearing on that


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